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IN THE UNITED STATES DISTRICT COURT ' (J. :.3.1'.,'.
FOR THE WESTERN DISTRICT OF TENNESSEE 55 ,I § 9 954 $ l
WESTERN DIVISION ` ‘ ~`l
SAMUEL E. MCCLENTON, "-`"
Plaintiff,
VS' CIVIL ACTION NO. 04-2889 B Arl

OFFICE EVOLUTIONS, lNC.,
OFFICE FURNITURE, USA,
RJR/JPJ, L.L.C., and CHORDUS, INC.,

Defendants.

 

ORDER GRANTING MOTION OF DEFENDANTS CHORDUS, INC. AND
OFFICE FURNITURE, USA FOR LEAVE TO FILE REPLY BRIEF

 

Presently before the Court is the Motion of Defendants Chordus, lnc. and Office
Furniture, USA for Leave to File Reply Brief` filed on l\/lay ll, 2005. The Defendants' Reply
Brief filed contemporaneously With the l\/Iotion of Defendants for Leave to File Reply Brief is
narrow in scope and is limited to the issues raised in Plaintiff‘s Response to the Motion to
Dismiss, or in the Alternative, for Summary Judgment of Defendants Chordus, Ine. and Office
Furniture, USA filed previously hereto.

Further, the issues addressed in Defendants' Reply Brief Will assist the Court in ruling on
the Motion to Disrniss, or in the Alternative, for Summary .ludgment filed by Def`endants.

lT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Motion of

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Defendants Chordus, lnc. and Ol`f`lce Furniture, USA for Leave to File Reply Brief is hereby

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F;\Cl.lENTS\L`Jflicc Fumiture USA and Chordus, lnc. (lé%?)\McCler\ton` Samue| F.. (38878}\Pleadings\rcp}y hrief`.Onl.doc

granted

 

 

 

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This notice confirms a copy of` the document docketed as number 21 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

